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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


SECURITIES AND EXCHANGE
COMMISSION,

                 Plaintiff,
    v.
                                              No. 1:25-cv-00616 (LCJ)
ARETE WEALTH MANAGEMENT, LLC,
ARETE WEALTH ADVISORS, LLC,
JOEY DALE MILLER, JEFFREY SCOTT
LARSON, RANDALL SCOTT
LARSON, and UNBO CHUNG,

                 Defendants.




     DEFENDANT BOB CHUNG’S MEMORANDUM OF LAW IN SUPPORT
  OF HIS MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT




                                       David S. Slovick
                                       Charlotte H. Underwood (pro hac vice)
                                       BARNES & THORNBURG LLP
                                       390 Madison Ave., 12th Floor
                                       New York, NY 10017
                                       dslovick@btlaw.com
                                       charlotte.underwood@btlaw.com

                                       Attorneys for Defendant UnBo (Bob) Chung
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        Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant UnBo (Bob)

Chung submits this Memorandum of Law in Support of his Motion to Dismiss the First Amended

Complaint filed against him by Plaintiff United States Securities and Exchange Commission (the

“Commission”). (Dkt. No. 61.) Because the Commission’s Amended Complaint fails to adequately

allege that Mr. Chung violated any provision of the federal securities laws he requests that the

Court dismiss Counts Four and Seven of the Amended Complaint with prejudice insofar as they

pertain to him.

                             THE COMMISSION’S ALLEGATIONS

        Of the 381 paragraphs of factual allegations in the Commission’s Amended Complaint very

few say anything about Bob Chung. Similarly, Mr. Chung is named in only two of the

Commission’s nine counts (Am. Compl. ¶¶ 360-65, 373-75), neither of which alleges that he

participated in any of the primary misconduct the Amended Complaint is based on. The

Commission alleges that Mr. Chung acted as an aider and abettor only, which, according to Seventh

Circuit case law, necessarily means that the Commission believes he “recklessly disregarded” and

“substantially assisted” one of the other Defendant’s alleged wrongdoing. (Infra at 7.) Mr. Chung

is not alleged to have solicited investors to purchase the stock of Zona Energy, Inc. (“Zona”), made

misstatements to those investors, raised funds for Zona or profited from sales of Zona stock,

requested that any of the three registered representative Defendants (the “Adviser

Representatives”) obtain settlement agreements or liability releases from Arete clients, drafted or

reviewed the agreements or releases, or signed off on their contents.1



1
        The two Arete Defendants, Arete Wealth Management, LLC and Arete Wealth Advisors, LLC, are
referred to collectively in this Memorandum as “Arete,” unless otherwise indicated. The term “Adviser
Representative” as used in this Memorandum does not refer to individuals who were authorized to represent
or bind Arete in any legal sense, but rather refers to the definition of “Investment Adviser Representative”
found in the Commission’s rules under the Investment Advisers Act of 1940. See 17 C.F.R. § 275.203A-
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       In fact, the Amended Complaint affirmatively alleges that the “trading away” activities that

form the basis of the Commission’s entire case (Am. Compl. ¶¶ 33-43) were intentionally

concealed from Arete and its employees, including Mr. Chung. (Id. ¶¶ 4, 168-70, 172-77, 199-207,

85, 122-23, 154, 215, 217, 224, 189, 196.) Among other allegations the Commission admits that

the Adviser Representatives “Lie[d] in Forms They Submit[ted] to Arete” about whether their

activities with Zona “involve[d] Arete customers” (id. Point Heading IV. and ¶¶ 202-03), and about

whether the Adviser Representatives had received compensation from sales of Zona stock (in both

cases the Adviser Representatives told Arete they did not). (Id. ¶¶ 204-07, 215, 217.) The

Commission also admits that Arete “instructed [the Adviser Representatives] not to introduce this

[Zona] security to any Arete clients.” (Id. ¶ 214.) In the Commission’s own words, the alleged

misconduct that forms the basis of the Commission’s claims against Mr. Chung occurred “without

receiving Arete’s approval and therefore not subject to its compliance oversight[.]” (Id. ¶ 1

(emphasis added).)

       Instead, the Commission’s claims against Mr. Chung are based on his alleged failure to

detect others’ admittedly concealed misconduct—namely, allegedly false statements made by other

Defendants in settlement agreements drafted by lawyers from “an outside law firm” retained by

the Adviser Representatives (id. ¶ 265), to which neither Mr. Chung nor any Arete entity was a

party, and which neither Mr. Chung nor others at Arete signed. (Id. ¶¶ 278-79.) According to the

Amended Complaint, Mr. Chung’s liability is based solely on his alleged “responsib[ility] for

reviewing”—but not his actual review of—“the Releases” contained in the settlement agreements,

and his alleged “role in shaping”—but not actually drafting or approving—“the contents of the

Releases.” (Id. ¶¶ 267, 272.) The Amended Complaint contains no non-conclusory allegations that


3(a)(1). The three individual Adviser Representative Defendants were not employees of Arete and were
prohibited by their independent contractor agreements from binding any Arete entity.
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Mr. Chung knew or recklessly failed to know of any representations in the agreements that would

have led him to believe that others made false statements to Arete customers. In fact, the Amended

Complaint makes apparent that the Commission does not even understand what its own pleading

burden in this case is, incorrectly alleging that mere negligence suffices to state a claim for aiding

and abetting against Mr. Chung. (See, e.g., id. ¶ 284.) According to both Seventh Circuit and

Commission case law, it does not. (Infra at 7-10.)

        Nor could the Commission plausibly have alleged facts sufficient to state a claim against

Mr. Chung given the Amended Complaint’s repeated allegations that the underlying misconduct

was methodically concealed from Arete. In many instances the Commission’s allegations about

Mr. Chung’s purported awareness of the misconduct contradict themselves, as when the

Commission alleges that Mr. Chung both “knew” that Arete’s fiduciary duties to its clients could

not be waived—as a matter of law—and at the same time alleges that he “recklessly disregarded”

the fact that they had been waived. (Am. Compl. ¶¶ 283-84, 288.) But most important, the

Amended Complaint fails to allege that Mr. Chung ever reviewed any of the allegedly misleading

settlement agreements that underlie its claims, much less that he was aware of or approved the

agreements’ contents. In short, the few allegations the Commission is able to make about Mr.

Chung fail to demonstrate his reckless disregard or substantial assistance of any other Defendant’s

allegedly false or misleading statements, and do not even satisfy the Commission’s threshold

pleading burden under Rule 12(b)(6) of the Federal Rules of Civil Procedure, let alone the much

more onerous pleading standard for aiding and abetting claims under the Advisers Act.2


2
        Although the Commission alleges that the settlement agreements contained multiple false
statements, its aiding and abetting claims against Mr. Chung are based solely on the language of the
agreements’ liability waiver paragraph. (Am. Compl. ¶¶ 1, 283-88.) In a single, conclusory paragraph the
Commission also alleges “Arete Advisors (through the Arete Representatives and Chung)” knew and
disregarded that the releases falsely claimed that “the Adviser Representatives were not acting as financial
advisers,” and “had not recommended investments in Zona.” (Id. ¶ 13.) However, there are no allegations
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        The same is true of the Commission’s allegations about Mr. Chung’s purported

involvement in reviewing and updating Arete Wealth Advisors’ policies and procedures. While the

Commission alleges in conclusory fashion that Arete Wealth Advisors “did not conduct annual

reviews of the adequacy of the firm’s compliance policies and procedures” and “failed to tailor the

firm’s compliance manual to accurately describe Arete’s business operations” (id. ¶¶ 313-14), the

Amended Complaint contains no allegations that could satisfy the Commission’s burden to show

that Mr. Chung “recklessly disregarded” or “substantially assisted” those alleged violations. To

the contrary, as with its allegations concerning alleged misstatements in the Adviser

Representatives’ settlement agreements, the Amended Complaint contains numerous allegations

that directly contradict the Commission’s claims that Mr. Chung did not review or act to update

Arete Wealth Advisors’ policies and procedures. For example, the Commission alleges in two

conclusory sentences that Mr. Chung and Arete Wealth Advisors “did not conduct annual reviews”

of the firm’s policies and procedures, and “failed to tailor the firm’s compliance manual” (id.), but

then quotes contemporaneous emails from Arete’s “senior director of compliance” establishing

that Mr. Chung did, in fact, participate in the firm’s annual compliance reviews through which

Arete Wealth Advisors did update the firm’s policies and procedures. (Id. ¶¶ 309-11.) Again, the

contradictory and conclusory allegations the Commission offers to support its claim concerning

Mr. Chung’s purported aiding and abetting of Arete Wealth Advisors’ alleged failure to review




in that paragraph, or anywhere else in the Amended Complaint, to substantiate those assertions insofar as
they pertain to Mr. Chung. In fact, the Commission does not even allege that Mr. Chung reviewed or was
aware of those two provisions in the settlement agreements. Conclusory allegations such as these do not
satisfy the Commission’s threshold pleading burden under Federal Rule of Civil Procedure 12(b)(6).
Bahiraei v. Blinken, 717 F. Supp. 3d 726, 744 (N.D. Ill. 2024) (“Merely making the conclusional assertion
that defendants have engaged in” unlawful activity “is plainly insufficient to state a claim for relief.”) (citing
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)); Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
(“Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements, do not
suffice.”).
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and update its policies and procedures do not satisfy the Commission’s baseline pleading burden

under Rule 12(b)(6), or the much higher pleading standard applicable to its aiding and abetting

claims.

                          THE COMMISSION’S PLEADING BURDEN

          To withstand a motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil

Procedure “a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to

relief that is plausible on its face’. . . . The plausibility standard is not akin to a ‘probability

requirement,’ but it asks for more than a sheer possibility” of liability. Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)); see also Atkins v.

City of Chicago, 631 F.3d 823, 831 (7th Cir. 2011) (“[T]he fact that the allegations undergirding a

plaintiff’s claim could be true is no longer enough to save it.”). “Where a complaint pleads facts

that are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between

possibility and plausibility of “entitlement to relief.” ’ ” Iqbal, 556 U.S. at 678 (quoting Twombly,

550 U.S. at 557); see also Cochran v. Illinois State Toll Highway Auth., 828 F.3d 597, 599 (7th Cir.

2016) (“To survive a motion to dismiss under Rule 12(b)(6), plaintiff’s complaint must allege facts

which, when taken as true, plausibly suggest that the plaintiff has a right to relief, raising that

possibility above a speculative level.”) (internal citations and quotations omitted). “Threadbare

recitals of the elements of a cause of action, supported by mere conclusory statements, do not

suffice.” Iqbal, 556 U.S. at 678.

          Further, allegations in a complaint that contradict or are contradicted by other allegations

do not satisfy the “plausibility standard” set out in Iqbal and Twombly. “Unexplained contradictory

statements are afforded no weight in federal courts.” Woodard v. Health Ins. All., No. 23 C 2630,

2024 WL 942629, at *2 (N.D. Ill. Mar. 5, 2024) (citing Atkins, 631 F.3d at 831-32). As a result,



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this Court is not to assume that factual allegations “contradicted in the complaint itself” are true

for the purposes of adjudicating Mr. Chung’s Motion to Dismiss. Atkins, 631 F.3d at 831-32; see

also Bahiraei v. Blinken, 717 F. Supp. 3d 726, 737 (N.D. Ill. 2024) (“[A] plaintiff ‘can plead

himself out of court by pleading facts that show that he has no legal claim[,]’ or, put differently,

‘when it would be necessary to contradict the complaint in order to prevail on the merits.’ ”)

(quoting Epstein v. Epstein, 843 F.3d 1147, 1150 (7th Cir. 2016)).

        Finally, even though Mr. Chung has only been charged with aiding and abetting (as opposed

to primary) violations of the federal securities laws, the Commission is still required to adequately

plead the elements of each of the primary securities law violations underlying its aiding and

abetting claims—even though Mr. Chung is not alleged to have participated in those primary

violations. Monetta Fin. Servs. v. Sec. and Exch. Comm’n, 390 F.3d 952, 956 (7th Cir. 2004);

Clarke T. Blizzard, Advisers Act Rel. No. IA-2253, 2004 WL 1416184, at *5 & n.10 (June 23,

2004). In other words, the existence of a primary violation is an element of every aiding and

abetting claim; if the Commission cannot adequately plead the existence of the primary securities

law violations on which its aiding and abetting claims are based, then it cannot, as a matter of law,

adequately state an aiding and abetting claim.3

                                           ARGUMENT

I.      The Commission Failed to State a Claim Against Mr. Chung for Aiding and Abetting
        Violations of Section 206(1) or 206(2) of the Investment Advisers Act.

        Sections 206(1) and 206(2) of the Investment Advisers Act of 1940 prohibit investment

advisers from employing devices, schemes or artifices to defraud their clients, and from engaging

in transactions, practices or courses of business which operate as a fraud or deceit on those clients.


3
        Mr. Chung hereby adopts and incorporates as if fully set forth herein the arguments made in the
Motions to Dismiss filed by the other Defendants demonstrating the Commission’s failure to adequately
allege any of the primary violations alleged in the Amended Complaint.
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15 U.S.C. §§ 80b-6(1), (2). To establish a primary violation of Section 206(1), the Commission

must demonstrate that a defendant acted recklessly, while a showing of negligence suffices to

establish a primary violation of Section 206(2). See, e.g., Blizzard, 2004 WL 1416184 at *5 & n.11.

       But the elements of a claim for aiding and abetting violations of Sections 206(1) and

206(2), including the mental state requirement, are different from the elements of a primary

violation. To state a claim for aiding and abetting any securities law violation the Commission

must adequately allege that “(1) there is a primary violation; (2) the aider and abettor generally

was aware or knew that his or her actions were part of an overall course of conduct that was

improper or illegal; and (3) the aider and abettor substantially assisted the primary violation.”

Monetta Fin. Servs., 390 F.3d at 956 (internal citations and quotations omitted); see also Sec. and

Exch. Comm’n v. Nutmeg Grp., LLC, 162 F. Supp. 3d 754, 782 (N.D. Ill. 2016) (same). To satisfy

the second element of an aiding and abetting claim (awareness or knowledge) the Commission

must, at a minimum, adequately allege that a defendant acted recklessly. Monetta Fin. Servs., 390

F.3d at 956; Nutmeg Grp., LLC, 162 F. Supp. 3d at 783. The Commission’s two aiding and abetting

claims against Mr. Chung fail to meet this pleading standard.

       A.      The Commission failed to adequately allege that Mr. Chung “recklessly
               disregarded” any other Defendant’s primary violations.

       Like the initial version of the Commission’s Complaint, the Amended Complaint

incorrectly assumes that allegations of mere negligence are sufficient to satisfy the mental state

requirement of a claim for aiding and abetting (Am. Compl. ¶ 284), which shows that the

Commission still does not understand what its pleading burden in this case is. According to both

Seventh Circuit and Commission case law, the Commission’s burden to establish the mental state

element of an aiding and abetting claim based on primary violations of both Sections 206(1) and

206(2) of the Advisers Act is only satisfied if the Commission can prove “awareness, or reckless

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disregard, on the part of the aider and abettor of the wrongdoing and of his or her role in furthering

it.” Blizzard, 2004 WL 1416184 at n.10 (rejecting Commission’s claims for aiding and abetting

violations of Sections 206(1) and 206(2) of the Advisers Act); see also, e.g., Monetta Fin. Servs.,

390 F.3d at 956 and n.4 (ruling that the “awareness requirement” of a Commission claim for aiding

and abetting violations of Section 206(2) of the Advisers Act requires at least “a finding of

recklessness”). For the purposes of the Commission’s burden to establish knowledge or awareness,

“knowledge or awareness of the conduct that turns out to be improper or illegal is not the same as

knowledge or awareness of the conduct’s impropriety or illegality. . . . The latter is what the law

requires.” Nutmeg Grp., LLC, 162 F. Supp. 3d at 783 (emphasis in original) (citing Monetta Fin.

Servs., 390 F.3d at 956 and Howard v. Sec. and Exch. Comm’n, 376 F.3d 1136, 1142 (D.C. Cir.

2004)).

          Given this heightened mental state requirement, “[i]t is not enough that the accused aider

and abettor’s action or omission is derived from inexcusable neglect,” nor is recklessness in the

aiding and abetting context “merely a heightened form of ordinary negligence.” Howard, 376 F.3d

at 1143 (cited with approval by the Seventh Circuit in Monetta Fin. Servs., 390 F.3d at 957)

(internal citations and quotations omitted). “[A]iding and abetting liability cannot rest on the

proposition that a person ‘should have known’ he was assisting violations of the securities laws.”

Id. (internal citations omitted); see also Nutmeg Grp., LLC, 162 F. Supp. 3d at 783 (same) (citing

Howard, 376 F.3d at 1143). Recklessness will only be established if “the alleged aider and abettor

encountered ‘red flags,’ or ‘suspicious events creating reasons for doubt’ that should have alerted

him to the improper conduct of the primary violator, . . . or if there was a danger . . . so obvious

that the actor must have been aware of the danger.” Howard, 376 F.3d at 1143 (internal citations




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and quotations omitted); see also Monetta Fin. Servs., 390 F.3d at 956 (same) (citing Howard, 376

F.3d at 1143).

       More specifically, in a case like this where the Commission’s allegations arise from

purported false or misleading written statements, the Commission cannot sustain an aiding and

abetting claim based on primary violations of Advisers Act Section 206(1) or 206(2) where the

alleged aider and abettor “was not involved in preparing or reviewing” the allegedly false statement

and “delivering [it] to clients or explaining its contents.” Blizzard, 2004 WL 1416184 at *7; see

also, e.g., Monetta Fin. Servs., 390 F.3d at 956-57 (holding that the “SEC has not satisfied the

awareness requirement” of aiding and abetting a Section 206(2) violation based on a failure to

disclose information because it did not establish that the defendant “was aware that disclosure was

required”). For example, in Blizzard, the Commission’s Enforcement Division charged Clarke

Blizzard with aiding and abetting his investment adviser-employer’s failure to disclose certain

conflicts of interest in the adviser’s Form ADV. Blizzard, 2004 WL 1416184 at *5. The

Commission later determined, however, that Blizzard could not be liable for aiding and abetting

misstatements in the Form ADV because “[h]e was not involved in preparing or reviewing” it, or

“responsible for delivering Form ADV to clients or explaining its contents.” Id. at *7.

       For the same reason, in Howard v. Securities and Exchange Commission—a decision the

Seventh Circuit relied on to reach its decision in Monetta—the D.C. Circuit vacated a Commission

order finding that the respondent aided and abetted a primary fraud arising from false and

misleading statements in written securities offering documents. Howard, 376 F.3d at 1140-41,

1150. After analyzing the meaning of the term “reckless” and the facts supporting the

Commission’s recklessness allegations, the court determined that the Commission’s aiding and

abetting claim failed because it did not demonstrate “that [the respondent] was aware of any



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illegalities in the first offering that had to be disclosed[.]” Id. at 1142. Of particular importance to

the court’s decision was the fact that, even though the respondent “was apprised of developments”

with the drafting of the purported misleading offering documents and had “skimmed through” the

final versions of them, an outside law firm—not the respondent—had prepared the documents.

         The law firm of Rogers & Wells prepared the offering documents for use in this
         country. . . . [The respondent] was not involved in the drafting process although
         he was apprised of developments [and had] skimmed through [the final offering
         documents] but did not read [them] closely. * * * The facts that Rogers & Wells
         . . . drafted the documents for the second offering and that Matcovsky conveyed
         to [the respondent] his and the law firm’s approval [of the transactions] constituted
         powerful evidence that [the respondent’s] actions did not amount to an extreme
         departure from the standards of ordinary care.”

Id. at 1139, 1148 (emphasis added).

        As in Monetta, Howard and Blizzard, the Commission has failed to substantiate a claim for

aiding and abetting based on Mr. Chung’s alleged reckless disregard of the contents of the Adviser

Representatives’ settlement agreements. The Commission does not allege that Mr. Chung drafted,

reviewed or approved the agreements; or that he or any Arete entity were parties to the agreements;

and has completely failed to allege any facts to establish that he disregarded—or was ever even

presented with—any “red flags” indicating that the Adviser Representatives’ settlement

agreements contained false or misleading information.

        As an initial matter, the Commission does not dispute that neither Arete nor Mr. Chung

were parties to the Adviser Representatives’ agreements with their clients. Instead, the “Parties” in

each of the relevant agreements were expressly defined to include only the individual Adviser

Representatives and their respective clients—not Arete, Mr. Chung, or anyone else:4


4
         A complete copy of the settlement agreement referenced here is attached as Exhibit A. Although
the relevant agreements are all the same in that neither Arete nor Mr. Chung appears in the “Parties”
definition or signature blocks of any of them, Mr. Chung will submit additional examples to the Court at its
request. The Court is permitted to consider the attached agreement in adjudicating Mr. Chung’s Motion to
Dismiss because it is expressly referred to in the Amended Complaint and central to the Commission’s
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And because Arete was not a party to the agreements, the Commission does not and cannot allege

that anyone from Arete signed them. (See Ex. A at 3; Am. Compl. ¶¶ 278-79.) In addition, by the

terms of the releases themselves, Arete did not agree to be released from any liability whatsoever,

or to assume any other obligation or perform any other act. The release contained in the agreements

runs exclusively between the Adviser Representatives and their clients: every settlement agreement

provided that the “INVESTOR, on the one hand, hereby releases Jeffrey Scott Larson [or other

Adviser Representative], Arete Wealth Advisors, LLC, Arete Wealth Management, LLC” and

others, while “Jeffrey Scott Larson, on the other hand, hereby release[s] INVESTOR . . . .” (Ex. A

at 1 (emphasis added).) Arete agreed to nothing. To hide this fact, the Commission’s Amended

Complaint, like its initial Complaint, provides the Court with an edited version of the release

language that omits the release’s final—and most important—sentence. (Compare Compl. ¶ 255

and Am. Compl. ¶ 286 with Ex. A at 1-2.)

        The undisputed facts that Arete was not a party to and did not sign the settlement

agreements, and did not agree to be released from liability by anyone or to perform any other act

or assume any other obligation, by themselves refute an indispensable premise of the

Commission’s fraud claim against Arete—namely, that Arete, as an “investment adviser[],”

“contract[ed] to waive the fiduciary duties that [it] owe[d] [its] clients.” (Am. Compl. ¶ 283.)




claims. See, e.g., 188 LLC v. Trinity Indus., Inc., 300 F.3d 730, 735 (7th Cir. 2002) (“[I]t is . . . well-settled
in this circuit that documents attached to a motion to dismiss are considered part of the pleadings if they
are referred to in the plaintiff’s complaint and are central to his claim. Such documents may be considered
by a district court in ruling on the motion to dismiss.”).
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Neither Arete nor Mr. Chung contracted to do anything with regard to the Adviser Representatives

or their clients. Because no such Arete contract ever existed, Mr. Chung cannot have recklessly

disregarded Arete’s alleged contractual fiduciary duty waiver, and he therefore cannot be liable for

having aided and abetted Arete’s alleged disclosure fraud.

       Further, as in Howard, the Commission affirmatively alleges that Arete’s CEO (not Mr.

Chung) “demanded that the Adviser Representatives hire and pay for an outside law firm” (not Mr.

Chung) “to draft [the] settlement agreements” (id. ¶ 265), and repeatedly alleges that the Adviser

Representatives concealed from Arete the alleged misconduct reflected in those agreements. (Id.

¶¶ 4, 168-70, 172-77, 199-207, 85, 122-23, 154, 215, 217, 224, 189, 196.) Among other allegations

the Commission admits that the Adviser Representatives “Lie[d] in Forms They Submit[ted] to

Arete” about whether their activities with Zona “involve[d] Arete customers” (id. Point Heading

IV. and ¶¶ 202-03), and about whether the Adviser Representatives had received compensation

from sales of Zona stock (in both cases the Adviser Representatives told Arete they did not). (Id.

¶¶ 204-07, 215, 217.) The Commission also admits that Arete “instructed [the Adviser

Representatives] not to introduce this [Zona] security to any Arete clients.” (Id. ¶ 214.) In the

Commission’s own words, the alleged misconduct that forms the basis of the Commission’s claims

against Mr. Chung occurred “without receiving Arete’s approval and therefore not subject to its

compliance oversight[.]” (Id. ¶ 1 (emphasis added).) And it is highly relevant to the Court’s

evaluation of Mr. Chung’s alleged reckless failure to discover that the settlement agreements

purportedly waived “fiduciary duties” that the term “fiduciary” does not even appear in the release

provisions of the settlement agreements. (Id. ¶ 286 (reproducing the “Mutual Release” language

from the settlement agreements).) Taken together, the Commission’s allegations not only fail to

establish that Mr. Chung “was aware or knew that his . . . actions were part of an overall course of



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conduct that was improper or illegal,” Monetta Fin. Servs., 390 F.3d at 956, they affirmatively

establish that he was unaware of any alleged misstatements in the agreements—and because he

did not draft or review the agreements, could not have been aware of them.

          Apart from the foregoing pleading deficiencies, the Commission has also failed to

demonstrate that Mr. Chung recklessly disregarded the alleged fiduciary duty waiver in the

settlement agreements because the Amended Complaint’s allegations on this point contradict

themselves: the Commission’s allegations concerning Mr. Chung’s purported knowledge of the

legal effect of the relevant waiver language directly refute the Commission’s recklessness

allegations. In a section of the Amended Complaint titled “The Releases Unlawfully Purport to

Release Arete from the Fiduciary Duty It Owed Its Advisory Clients” (Am. Compl. Point Heading

VIII.c.) the Commission alleges that “[t]he federal securities laws prohibit investment advisers

from contracting to waive the fiduciary duties that they owe their clients” (id. ¶ 283), and goes on

to allege that Mr. “Chung knew or at least recklessly or negligently disregarded this prohibition.”5

(Id. ¶ 284 (emphasis added).) The Commission has accurately stated the law on fiduciary duty

waivers: Section 215 of the Advisers Act, which is titled “Waiver of Compliance as Void,”

provides that “[a]ny condition, stipulation, or provision binding any person to waive compliance

with any provision of this title [i.e., the Advisers Act] or with any rule, regulation, or order

thereunder shall be void.” 15 U.S.C. § 80b-15(a). In turn, an investment adviser’s fiduciary duty

arises from Section 206 of “this title,” i.e., the Advisers Act. Nutmeg Grp., LLC, 162 F. Supp. 3d

at 778.

          However, if Mr. Chung “knew” of but “disregarded” the securities laws’ absolute

prohibition against “investment advisers . . . contracting to waive” their fiduciary duties, as the


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        Again, the Commission incorrectly alleges that negligence is sufficient to state a claim for aiding
and abetting under the Advisers Act. It is not. (Supra at 7-10.)
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Commission expressly alleges, it cannot also be true that he was aware that the release language

in the settlement agreements could have resulted in a waiver of Arete’s fiduciary duties. That is,

Mr. Chung could not both have been aware that fiduciary duties are unwaivable as a matter of law

and, at the same time, “disregarded” the fact that the settlement agreements waived those same

fiduciary duties. No matter what the agreements purportedly said about the waiver of anyone’s

fiduciary duties, the Commission’s own Amended Complaint alleges that Mr. Chung knew the

agreements could not—as a matter of law—have accomplished that waiver.

       Similarly, according to the Commission’s legal theory, a necessary part of Mr. Chung’s

alleged awareness of the legal prohibition against fiduciary duty waivers was his understanding

that “every contract” that contains such a waiver “shall be void”—an absolute legal prohibition

imposed by the same “securities law” provision the Commission alleges Mr. Chung was aware of.

See 15 U.S.C. § 80b-15(b) (“Every contract made in violation of any provision of this title [i.e.,

the Advisers Act] . . . shall be void.”) (emphasis added). But this allegation likewise refutes the

Commission’s other allegation that Mr. Chung knew but disregarded that the Adviser

Representatives’ contracts with their clients sought to waive Arete Wealth Advisors’ fiduciary

duties. Mr. Chung could not have been aware that the Adviser Representatives’ settlement

agreements waived Arete Wealth Advisors’ fiduciary duty while simultaneously understanding

that any such agreement would be “void”—as a matter of law—the instant it was reduced to a

written “contract.” Stated in terms of the Commission’s pleading burden, self-contradictory

allegations like those in the Amended Complaint pertaining to Mr. Chung’s knowledge of the legal

effect of the waiver provision do not adequately allege that Mr. Chung “was aware or knew that

his . . . actions were part of an overall course of conduct that was improper or illegal.” Monetta

Fin. Servs., 390 F.3d at 956; see also Atkins, 631 F.3d at 831-32 (factual allegations “contradicted



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in the complaint itself” are insufficient to adequately plead a cause of action under Rule 12(b)(6));

Blinken, 717 F. Supp. 3d at 737 (same). In fact, they compel the opposite conclusion: that Mr.

Chung knew that the settlement agreements could not have waived Arete’s fiduciary duties because

that possibility was foreclosed by the plain language of the Advisers Act itself.

       B.      The Commission failed to adequately allege that Mr. Chung “substantially
               assisted” any other Defendant’s primary violations.

       In addition to the requirement that it adequately allege recklessness, to state an aiding and

abetting claim the Commission is also required to adequately allege Mr. Chung’s “substantial

assistance” of another Defendant’s primary securities law violation. Monetta Fin. Servs., 390 F.3d

at 956; Nutmeg Grp., LLC, 162 F. Supp. 3d at 782. The substantial assistance element of an aiding

and abetting violation “requires a showing that the aider and abettor proximately caused the harm

to [the victim] on which the primary liability is predicated. . . . Mere awareness does not satisfy

this standard.” Nutmeg Grp., LLC, 162 F. Supp. 3d at 786 (internal citations omitted); see also,

e.g., Sec. and Exch. Comm’n v. Treadway, 430 F. Supp. 2d 293, 339 (S.D.N.Y. 2006) (“[M]ere

awareness and approval of the primary violation is insufficient to make out a claim for substantial

assistance.”) (citing Armstrong v. McAlpin, 699 F.2d 79, 92 (2d Cir. 1983)). In turn, for the

Commission to adequately plead proximate cause “the harm alleged must have a sufficiently close

connection to the [allegedly wrongful] conduct, which is evaluated based on whether the harm was

‘foreseeable’ to a defendant.” United States v. Betts, 99 F.4th 1048, 1061 (7th Cir. 2024) (internal

citations and quotations omitted).

       “Inaction on the part of the alleged aider and abettor ordinarily should not be treated as

substantial assistance, except when it was designed intentionally to aid the primary fraud or it was

in conscious and reckless violation of a duty to act.” Armstrong, 699 F.2d at 91; see also, e.g.,

Nutmeg Grp., LLC, 162 F. Supp. 3d at 786 (same) (citing Armstrong, 699 F.2d at 92). As a result,

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in the context of a Commission fraud case arising from alleged false and misleading statements in

written documents, the Commission fails to adequately allege substantial assistance where it is

unable to establish that the defendant drafted or reviewed the allegedly misleading document. See,

e.g, Blizzard, 2004 WL 1416184 at *7 (ruling that respondent did not substantially assist a primary

disclosure fraud because he “had no involvement in preparing or reviewing any information

disclosed in the ADV”); Sec. and Exch. Comm’n v. Cedric Kushner Promotions, Inc., 417 F. Supp.

2d 326, 335-37 (S.D.N.Y. 2006) (ruling that defendant did not substantially assist the primary

violator’s false disclosures in a company’s Form 10-KSB because the defendant’s “role in the

preparation of the Form 10-KSB was very limited”).

       The Commission has failed to adequately allege that Mr. Chung substantially assisted any

other Defendant’s primary violation of Advisers Act Sections 206(1) and 206(2) because the

Amended Complaint contains no allegations that he had any role whatsoever in drafting or

reviewing the Adviser Representatives’ settlement agreements. To the contrary, the Commission

expressly alleges that the agreements were drafted by lawyers from “an outside law firm” retained

by the Adviser Representatives (not Mr. Chung), and the Commission does not dispute that neither

Mr. Chung nor Arete was a party to, or signed, the agreements. (Am. Compl. ¶¶ 278-79; see also

Ex. A at 1-2, 3.) These allegations flatly contradict the Commission’s conclusory assertion that Mr.

Chung assisted the making of another Defendant’s false or misleading written statements, but they

also make apparent that he did not participate at all in any phase of the creation or review of the

documents that allegedly contained those misstatements. The Commission’s Amended Complaint

fails to plead the proximate cause required by Seventh Circuit case law because it fails to establish

“a sufficiently close connection”—or any connection—between Mr. Chung’s alleged involvement

in the Adviser Representatives’ settlement agreements and the harm that the Commission alleges



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resulted from the agreements. Betts, 99 F.4th at 1061. More specifically, because the Commission

has not alleged that the relevant harm (i.e., the alleged waiver of Arete’s fiduciary duties) was

“foreseeable” to Mr. Chung, it has necessarily failed to adequately allege his substantial assistance

of any primary violation of the Advisers Act arising from the contents of the Adviser

Representatives’ settlement agreements. Id.; Nutmeg Grp., LLC, 162 F. Supp. 3d at 786.

       Further, as discussed above, even if the Commission had attempted to allege that the harm

it claims was caused by the settlement agreements was foreseeable to Mr. Chung, which it has not,

other allegations in the Amended Complaint directly contradict that assertion—for example, the

Commission’s repeated allegations that the Adviser Representatives’ alleged misconduct was

systematically concealed from Arete and its employees (Am. Compl. ¶¶ 4, 168-70, 172-77, 199-

207, 85, 122-23, 154, 215, 217, 224, 189, 196), and its allegation that Mr. Chung “knew” that Arete

could not, as a matter of law, have contracted to waive its fiduciary duties. (Id. ¶¶ 283-84.) These

contradictory allegations make it impossible for the Commission to adequately plead proximate

cause, which is a necessary element of both of its aiding and abetting claims against Mr. Chung.

See Atkins, 631 F.3d at 831-32; Woodard, 2024 WL 942629 at *2; Blinken, 717 F. Supp. 3d at 737.

       Nor does the handful of new allegations added to the Amended Complaint concerning Mr.

Chung remedy the Commission’s failure to adequately allege substantial assistance. There are only

three new substantive allegations about Mr. Chung in the Amended Complaint, all of which have

to do with emails Mr. Chung allegedly sent or received “on the subject of the Releases” (Am.

Compl. ¶ 269):

       •   “From April 27, 2021 to June 10, 2021, Chung sent at least eleven emails on the subject
           of the Releases.”

       •   “Chung’s emails regarding the Releases included a May 10, 2021 email string between
           Chung and Randy Larson, which began with an email from Randy Larson to Chung
           with the subject line: ‘Approval for Settlement Agreement before I send out.’ ”

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       •   “Randy Larson’s May 10, 2021 email to Chung included an attachment entitled ‘draft
           settlement.’ ”

(Id. ¶¶ 269-71.) But none of these new paragraphs alleges that Mr. Chung reviewed or approved

the single “draft settlement” Randy Larson allegedly sent him, what language or provisions the

draft settlement contained, or whether the “draft” version Mr. Chung allegedly received was the

same as the final version that the Adviser Representatives sent to their clients. Most important,

these new paragraphs do not allege that the “draft” of the single document Mr. Chung allegedly

received contained any false or misleading statements or, if it did, that Mr. Chung knew of or

recklessly failed to spot them. Nonetheless, the Commission evidently included these three new

paragraphs to insinuate (without, however, actually alleging) that Mr. Chung was shown

documents that contained false statements and failed to stop the Adviser Representatives from

sending them to their clients.

       But even if the Court were to read the new paragraphs in the light most favorable to the

Commission and assume the existence of allegations the Commission failed to plead, they add

nothing to the Commission’s claims against Mr. Chung. At most, taken as true and drawing all

possible inferences in the Commission’s favor, the Amended Complaint alleges only that Mr.

Chung received a document that contained false or misleading statements. But as Mr. Chung

explained in his Motion to Dismiss the Commission’s initial Complaint, in both the Northern

District of Illinois and other federal jurisdictions mere “awareness and approval” of a primary

violation is “insufficient to make out a claim for substantial assistance,” which, in turn, is a

necessary element of every aiding and abetting claim the Commission brings. (Dkt. No. 44 at 13-

14 (citing cases from the Northern District of Illinois, Second Circuit and Southern District of New

York)); see also, e.g., Edwards & Hanly v. Wells Fargo Sec. Clearance Corp., 602 F.2d 478, 484



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(2d Cir. 1979) (concluding that an alleged aider and abettor’s “hiding” of unlawful activity “did

not substantially assist” the primary securities fraud violation because “such activities were not the

proximate cause” of the alleged harm, and that “[t]o the extent that [the aider and abettor] is held

culpable because he ‘recklessly’ [f]ailed to discover” the primary violation “he did not achieve the

status of an aider-abettor”); Sec. and Exch. Comm’n v. Tecumseh Holdings Corp., No. 03 Civ. 5490

(SAS), 2009 WL 4975263, at *4-*5 (S.D.N.Y. Dec. 22, 2009) (rejecting Commission’s claim that

a lawyer for a broker-dealer aided and abetted the broker-dealer’s securities law violations, despite

the fact that the lawyer “knew of these violations,” because “mere awareness and approval of [a]

primary violation is insufficient to make out a claim for substantial assistance” of the primary

violation); Sec. and Exch. Comm’n v. Patel, No. 07-cv-39-SM, 2008 WL 782465, at *16-*17

(D.N.H. Mar. 24, 2008) (granting defendant’s motion to dismiss Commission’s aiding and abetting

claim based on the defendant’s alleged “participat[ion] in negotiating and finalizing” false

information included in written disclosures because “liability for aiding and abetting requires

allegations of affirmative conduct . . . rather than mere awareness and approval”). Because the

Commission has, for a second time, failed to adequately allege Mr. Chung’s substantial assistance

of the purported misstatements in the Adviser Representatives’ settlement agreements, it has failed

to allege an indispensable element of its first aiding and abetting claim against Mr. Chung, and the

claim must therefore be dismissed.

II.      The Commission Failed to State a Claim Against Mr. Chung for Aiding and Abetting
         Violations of Section 206(4) of the Investment Advisers Act and Rule 206(4)-7
         Thereunder.

         The Commission’s allegations about Mr. Chung’s role in Arete Wealth Advisors’ purported

failure to “maintain adequate compliance policies and procedures and . . . conduct required annual

reviews of the firm’s compliance policies” in violation of Advisers Act Section 206(4) and Rule



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206(4)-7 exhibit the same deficiencies as its allegations about his purported failure to discover

other Defendants’ concealed misstatements.6 (Am. Compl. ¶ 14.) Most important, the Amended

Complaint contains no allegations—as it must to withstand a motion to dismiss—that Mr. Chung

recklessly disregarded or substantially assisted any other Defendant’s alleged wrongdoing with

respect to the firm’s policies and procedures or compliance program. And the Commission’s

allegations about Arete Wealth Advisors’ purported primary violations are, again, contradictory.

As with its other claim against Mr. Chung, these deficiencies make it impossible for the

Commission to satisfy its threshold pleading burden under Federal Rule of Civil Procedure

12(b)(6), or its much higher burden to adequately plead the elements of a claim for aiding and

abetting violations of Section 206(4) of the Advisers Act and Rule 206(4)-7.

        The section of the Amended Complaint that addresses Mr. Chung’s alleged aiding and

abetting of Arete Wealth Advisors’ Rule 206(4)-7 violations contains only two statements—both

conclusory—that allegedly support its claim: (1) Mr. Chung “did not conduct annual reviews of

the adequacy of the firm’s compliance policies and procedures,” and (2) “failed to tailor the firm’s

compliance manual to accurately describe Arete’s business operations.” (Id. ¶¶ 313-14.) But none

of the Commission’s allegations about Mr. Chung’s involvement in reviewing and updating Arete

Wealth Advisors’ policies and procedures substantiate these conclusions. Instead, the Amended

Complaint directly contradicts them.7


6
        Read together, the versions of Section 206(4) of the Advisers Act and Rule 206(4)-7 in effect during
the Commission’s relevant period (Am. Compl. ¶ 1) required registered investment advisers to “(a) . . .
[a]dopt and implement written policies and procedures reasonably designed to prevent violation . . . of the
[Advisers] Act and” the Commission’s rules; and “(b) . . . review, no less frequently than annually, the
adequacy of the policies and procedures established pursuant to [Rule 206(4)-7] and the effectiveness of
their implementation.” 15 U.S.C. § 80b-6(4), 17 C.F.R. § 275.206(4)-7.
7
        The allegations supporting the Commission’s aiding and abetting claim against Mr. Chung also mix
up primary and aiding and abetting liability under Advisers Act Section 206(4) and Rule 206(4)-7. Both
provisions apply to an “investment adviser” only, see 15 U.S.C. § 80b-6, 17 C.F.R. § 275.206(4)-7, Nutmeg
Grp., LLC, 162 F. Supp. 3d at 772, which, in this case, the Commission alleges is Arete Wealth Advisors,
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        As an initial matter, the Amended Complaint fails to allege that Mr. Chung took any part

whatsoever in creating or revising Arete’s policies and procedures, and instead affirmatively

alleges that those responsibilities were assumed by others. The Commission alleges that “[t]he

firm’s compliance policies and procedures originated from an outside consulting firm”—Mr.

Chung did not draft them (id. ¶ 296)—and that the job of revising the firm’s policies and procedures

was done by a “senior director of compliance” at Arete Wealth Advisors—not Mr. Chung. (Id. ¶¶

308-11.) By themselves, these allegations render the Commission’s aiding and abetting claim

inadequately pled because they establish that Mr. Chung had no role in creating the alleged

inadequacies in Arete’s written policies and procedures. See, e.g., Howard, 376 F.3d at 1148-49

(rejecting Commission’s aiding and abetting claim based on misstatements in documents where

documents were drafted by someone other than the defendant); Cedric Kushner Promotions, Inc.,

417 F. Supp. 2d at 335-37 (the defendant did not substantially assist the creation of misstatements

in the primary violator’s Form 10-KSB because the defendant’s “role in the preparation of the

Form 10-KSB was very limited”).

        Moreover, the Commission’s conclusory allegations that Mr. Chung “did not conduct

annual reviews” of the firm’s policies and procedures, and “failed to tailor the firm’s compliance

manual” (Am. Compl. ¶¶ 313-14) are contradicted by particularized allegations elsewhere in the

Amended Complaint establishing that Mr. Chung did, in fact, participate in annual reviews aimed

at revising the firm’s policies and procedures to address concerns raised by the Commission. For

example, the Commission affirmatively alleges that Mr. Chung wrote to the Commission’s


LLC. (Am. Compl. ¶¶ 24, 374.) Even though the Commission concedes that Mr. Chung is not an
“investment adviser” for the purposes of the Advisers Act (id. ¶ 28), the Amended Complaint nonetheless
confusingly suggests that he was a primary violator of Section 206(4) and Rule 206(4)-7, which, per the
text of those provisions, is impossible. (Id. ¶¶ 313, 314.) Just as the Commission misunderstands the mental
state requirement for its aiding and abetting claims against Mr. Chung (supra at 7-10), it also
misunderstands the difference between primary and aiding and abetting liability under the securities laws.
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examination staff in December 2018 and told them that “ ‘Arete is in the process of reviewing and

updating its Compliance manual, and will ensure it conducts annual reviews of its adequacy

thereafter.’ ” (Id. ¶ 305.) The Commission also alleges that Mr. Chung told the Commission that

“ ‘Arete is in the process of conducting a comprehensive review of its policies and procedures and

will make all necessary amendments to its Compliance Manual to ensure that it is current and

consistent with the Advisers Act.’ ” (Id. ¶ 307.) Given the total absence of any contrary allegations

in the Amended Complaint refuting these statements, the only inference the Court can drawn from

them is that Mr. Chung made the statements to the Commission because he believed them to be

true. Nowhere in the Amended Complaint does the Commission in any way allege that these

statements were false, or—as it must to survive a motion to dismiss—that Mr. Chung knew or

recklessly disregarded the fact that they were false.

       Instead, the Amended Complaint says just the opposite. The Commission alleges that in

October 2020, Mr. Chung was expressly told in emails sent by the “senior director of compliance”

who was responsible for updating Arete Wealth Advisors’ policies and procedures that she was

“ ‘finish[ing]’ ” the firm’s “ ‘RIA [registered investment adviser] WSPs [Procedures],’ ” after

which she intended to “ ‘push them out to the field’ ”—i.e., to Arete Wealth Advisors’ registered

representatives. (Id. ¶ 309 (brackets in original).) She further asked Mr. Chung to “ ‘let me know

your comments’ ” on the written policies and procedures, establishing that he participated in the

firm’s 2020 annual review process for the then-current version of that document. (Id.) The

Commission also alleges that the following year, 2021, the same senior director of compliance

again told Mr. Chung that she had created an “ ‘up to date version’ ” of Arete’s “ ‘[registered

investment adviser] . . . procedures’ ” which she said she would eventually “ ‘roll[] out to the

field.’ ” (Id. ¶ 310 (first brackets in original).) The same thing happened again the following year,



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in 2022. According to the Amended Complaint, the senior director was again working to “ ‘address

the Arete Wealth Advisors WSP’s [Procedures]’ ” and, even more specifically, sought to “ ‘make

time this week to address’ ” with Mr. Chung the revised draft, a copy of which the Commission

alleges was “ ‘attached’ ” to the senior director’s email to Mr. Chung. (Id. ¶ 311 (brackets in

original).) These detailed allegations documenting the steps Arete Wealth Advisors and Mr. Chung

took in 2020, 2021 and 2022 to review and update Arete Wealth Advisors’ policies and procedures

directly refute the Commission’s conclusory allegations that between “December 2018 and May

2023, Arete Advisors and Mr. Chung did not conduct annual reviews of the adequacy of the firm’s

compliance policies and procedures” and “failed to tailor the firm’s compliance manual.” (Id. ¶¶

313-14.) Contemporaneous emails quoted in the Amended Complaint show that they did.

       But more problematic for the Commission’s aiding and abetting claim, these allegations

also refute any inference that Mr. Chung was “aware of” or “recklessly disregarded” any other

Defendant’s violation of Section 206(4) and Rule 206(4)-7, namely, Arete Wealth Advisor’s

alleged failure to conduct reviews of or update its policies and procedures, which is a necessary

element of the Commission’s claim. Monetta Fin. Servs., 390 F.3d at 956; Nutmeg Grp., LLC, 162

F. Supp. 3d at 782. Nowhere among the Amended Complaint’s few allegations concerning Mr.

Chung’s alleged role in reviewing or updating Arete Wealth Advisors’ policies and procedures does

the Commission allege that Mr. Chung was aware of any primary violator’s failure to carry out

those tasks. To the contrary, the Commission affirmatively alleges that Mr. Chung was told by the

Arete employee the Commission admits was responsible for updating the firm’s policies that she

was in fact doing so—and doing so annually. (Supra at 21-23.) Accepting the Commission’s own

allegations as true for the purposes of Mr. Chung’s Motion to Dismiss, the Amended Complaint




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alleges that Mr. Chung was led to believe that Arete Wealth Advisors was satisfying its obligation

to review and update the firm’s policies and procedures.

        It seems that the contradictory allegations the Commission offers to support its Rule

206(4)-7 claim stem from the Commission’s basic misunderstand of its pleading burden for aiding

and abetting claims, a mistake that runs throughout the Amended Complaint. It is not enough for

the Commission to allege that Mr. Chung was negligent in not knowing that the “senior director

of compliance” was not doing the job the Commission expressly alleges she told Mr. Chung she

was doing. Nor (had the Commission actually alleged it, which it did not) is Mr. Chung’s mere

“awareness and approval” of Arete Wealth Advisors’ purported failure to review and update its

policies and procedures sufficient to allege substantial assistance on Mr. Chung’s part.8 (See supra

at 15, 19; Dkt. No. 44 at 13-14.) The Commission must instead allege with particularity that “the

aider and abettor generally was aware or knew that his or her actions were part of an overall course

of conduct that was improper or illegal,” and that “the aider and abettor substantially assisted the

primary violation.” Monetta Fin. Servs., 390 F.3d at 956 (internal citations and quotations omitted);

see also Nutmeg Grp., LLC, 162 F. Supp. 3d at 782 (same). Not only do the Commission’s

allegations concerning Mr. Chung fail to plead anything close to such knowledge or assistance,

they plead just the opposite. Stated differently, the Commission has failed to meet its burden to

adequately plead a claim for aiding and abetting violations of Advisers Act Section 206(4) and

Rule 206(4)-7 for three independent reasons: (1) the Commission’s allegations consist of nothing

more than a “conclusional assertion that [Mr. Chung] engaged in” unlawful activity in connection



8
        The Commission does not allege that Mr. Chung is himself liable for violations of Section 206(4)
and Rule 206(4)-7 related to Arete Wealth Advisors’ policies and procedures, because only an investment
adviser (here, Arete Wealth Advisors) can be liable for such violations. (Supra at n.7.) Because Mr. Chung
has never been an investment adviser he cannot, as a matter of law, have violated Section 206(4) and Rule
206(4)-7.
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with updating Arete Wealth Advisors’ policies and procedures, Blinken, 717 F. Supp. 3d at 744

(citing Twombly, 550 U.S. at 555); (2) the Commission has completely failed to allege that Mr.

Chung “was aware or knew that his . . . actions were part of an overall course of conduct that was

improper or illegal,” Monetta Fin. Servs., 390 F.3d at 956 (internal citations and quotations

omitted); and (3) the Commission has not even tried to allege, much less adequately alleged, that

Mr. Chung “proximately caused the harm to [any victim] on which the primary liability is

predicated,” Nutmeg Grp., LLC, 162 F. Supp. 3d at 786 (internal citations omitted). Any one of

these three pleading deficiencies standing alone requires the Court to dismiss the Commission’s

second aiding and abetting claim against Mr. Chung.

                                        CONCLUSION

       For the foregoing reasons Defendant UnBo (Bob) Chung respectfully requests that the

Court (1) grant his Motion to Dismiss Plaintiff’s Amended Complaint in its entirety, and (2)

dismiss the Fourth and Seventh Counts of the Amended Complaint with prejudice insofar as they

pertain to him.



Dated: June 9, 2025

                                             Respectfully submitted,



                                             David S. Slovick
                                             Charlotte H. Underwood
                                             BARNES & THORNBURG LLP
                                             390 Madison Ave., 12th Floor
                                             New York, NY 10017
                                             dslovick@btlaw.com
                                             charlotte.underwood@btlaw.com

                                             Attorneys for Defendant UnBo (Bob) Chung


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